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UNITED STATES DISTRICT COURT

THE GRAND JURY CHARGES THAT:

DISTRICT OF NEVADA
UNITED STATES OF AMERICA, CRIMINAL INDICTMENT
Plaintiff, Case No.: 2:23-cr- 412/ TAD- a7
vs.
JOHN ANTHONY MILLER, VIOLATIONS:
Defendant. 18 U.S.C. § 115(a)(1)(B)

Threatening a Federal official

18 U.S.C. § 115(a)(1)(A) .
Influencing, impeding, or retaliating against
a Federal official by threatening a family
member

COUNT ONE

(Threatening a Federal official)

On or about October 17, 2023, in the District of Nevada,

JOHN ANTHONY MILLER,

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the defendant herein, threatened to assault and murder United States Senator 1, with intent
to impede, intimidate, and interfere with United States Senator 1 while engaged in the
performance of official duties, and with intent to retaliate against United States Senator 1
on account of the performance of official duties,
in violation of Title 18, United States Code, Section 115(a)(1)@).

COUNT TWO

(Influencing, impeding, or retaliating against a Federal official by threatening a family
member)

On or about October 24, 2023, in the District of Nevada,
JOHN ANTHONY MILLER,
the defendant herein, threatened to assault and murder a member of the immediate family
of United States Senator 1, with intent to impede, intimidate, and interfere with United
States Senator 1 while engaged in the performance of official duties, and with intent to
retaliate against United States Senator 1 on account of the performance of official duties, -

in violation of Title 18, United States Code, Section 115(a)(1)(A).
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COUNT THREE
(Influencing, impeding, or retaliating against a Federal official by threatening a family
member)
On or about October 25, 2023, in the District of Nevada,
' JOHN ANTHONY MILLER,

the defendant herein, threatened to assault and murder a member of the immediate family
of United States Senator 2, with intent to impede, intimidate, and interfere with United
States Senator 2 while engaged in the performance of official duties, and with intent to

retaliate against United States Senator 2 on account of the performance of official duties,

in violation of Title 18, United States Code, Section 115(a)(1)(A).

DATED: this 21* day of November, 2023.

A TRUE BILL:

/S/
FOREPERSON OF THE GRAND JURY

JASON M. FRIERSON
United States Attorney

Lil

JACOB H. OPERSKALSKI
Assistant United States Attorney

